Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 1 of 19 Page ID #:1140




    1 RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              SUPPLEMENTAL BRIEF OF
                   Plaintiff,                      INTERFOCUS INC. D.B.A.
   15                                              WWW.PATPAT.COM IN
            v.                                     FURTHER SUPPORT OF :
   16
      INTERFOCUS, INC. d.b.a.                      1) MOTION FOR SUMMARY
   17 www.patpat.com, a Delaware                      JUDGMENT AND PARTIAL
      Corporation; CAN WANG, and                      SUMMARY JUDGMENT ON
   18 individual, and DOES 1-10, inclusive.,          PLAINTIFF’S COMPLAINT
                                                      AND DEFENDANT’S
   19              Defendants.                        COUNTERCLAIM; AND
   20                                              2) OPPOSITION TO PLAINTIFF’S
      INTERFOCUS, INC. d.b.a.                         MOTION FOR SUMMARY
   21 www.patpat.com, a Delaware                      JUDGMENT
      Corporation; CAN WANG, an                    Continued Hearing Date: December 6,
   22 individual, and DOES 1-10, inclusive,        2021
                   Counterclaim Plaintiffs,        Time: 10:00 am
   23                                              Courtroom: 8D
   24        v.                                    The Hon. Christina A. Snyder
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
                                               1
           SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                     SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 2 of 19 Page ID #:1141




    1                                          TABLE OF CONTENTS
    2                                                                                                                Page
    3 I.        INTRODUCTION. ........................................................................................... 1
    4 II.       RECENT ADMISSIONS ESTABLISH THAT THE THREE
                COPYRIGHT REGISTRATIONS AT ISSUE ARE INVALID AS A
    5           MATTER OF LAW. ........................................................................................ 1
    6 III.      THE ACCUSED GARMENTS MAY HAVE COME FROM
                NEMAN BROTHERS’ AUTHORIZED CHINESE GARMENT
    7           MANUFACTURER, BARRING PLAINTIFF’S CLAIMS UNDER
                THE FIRST SALE DOCTRINE. ..................................................................... 6
    8
        IV.     DEFENDANTS’ ACCUSED GARMENTS DO NOT INFRINGE
    9           PLAINTIFF’S ALLEGED COPYRIGHTS. .................................................... 8
   10 V.        PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIMS ARE
                CONTRACTUALLY BARRED BY THE PREVIOUS
   11           SETTLEMENT AGREEMENT. ................................................................... 12
   12 VI.       CONCLUSION. ............................................................................................. 15
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                 i
              SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                        SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 3 of 19 Page ID #:1142




    1                                           TABLE OF AUTHORITIES
    2                                                                                                                  Page(s)
    3
         Cases
    4
         Ets-Hokin v. Skyy Spirits, Inc.,
    5       225 F.3d 1068 (9th Cir. 2000) .............................................................................. 9
    6
      Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC,
    7   925 F. 3d 1140 (9th Cir. 2019) ......................................................................... 5, 6
    8 Kirtsaeng v. John Wiley & Sons, Inc.,
    9    568 U.S. 519 (2013) ............................................................................................. 8
   10 Malibu Textiles, Inc. v. Label Lane Int’l, Inc.,
        922 F.3d 946 (9th Cir. 2019) ................................................................................ 9
   11
   12 Mattel, Inc. v. MGA Entm't, Inc.,
         616 F.3d 904 (9th Cir. 2010) ................................................................................ 8
   13
   14 Omega S.A. v. Costco Wholesale Corporation,
         776 F.3d 692 (9th Cir. 2015) ................................................................................ 8
   15
      Palmer/Kane LLC v. Rosen Book Works LLC,
   16    204 F. Supp. 3d 565 (S.D.N.Y. 2016) .................................................................. 4
   17
      Pension Trust Fund for Operating Engineers v. Federal Insurance Co.,
   18    307 F.3d 944 (9th Cir. 2002) .............................................................................. 14
   19 Star Fabrics, Inc., v. Zulily,
   20    LLC, No. CV178358PSGMRWX, 2018 WL 5264360 (C.D. Cal.
         Apr. 17, 2018) ....................................................................................................... 9
   21
   22 Unicolors, Inc. v. H&M Hennes & Mauritz, L.P.,
         959 F.3d 1194 (9th Cir. 2020) .............................................................................. 5
   23
      Statutes
   24
   25 17 U.S.C. §204........................................................................................................... 2
   26 17 U.S.C. § 408(c)(1) ................................................................................................ 3
   27 17 U.S.C. §408(c)(2) ................................................................................................. 3
   28
                                                                   -ii-
               SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                         SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 4 of 19 Page ID #:1143




    1                                    TABLE OF AUTHORITIES CONT’D
    2                                                                                                                     Page(s)
    3
         Statutes Cont’d
    4
         17 U.S.C. § 409.......................................................................................................... 4
    5
         17 U.S.C. § 409(2) ..................................................................................................... 4
    6
    7 17 U.S.C. § 409(4) ..................................................................................................... 4
    8 17 U.S.C. § 409(5) ..................................................................................................... 5
    9 17 U.S.C. § 409(9) ..................................................................................................... 5
   10
      17 U.S.C. § 411(b) ..................................................................................................... 5
   11
      Copyright Act of 1976 ............................................................................................... 3
   12
      Other Authorities
   13
   14 37 C.F.R. § 202.4(c)(5) .............................................................................................. 3
   15 37 C.F.R. § 202.4(c)(7) .............................................................................................. 3
   16 37 CFR 202.3(b)(4)(B)(4) ......................................................................................... 3
   17
      43 FR 965................................................................................................................... 3
   18
      82 FR No. 196........................................................................................................ 3, 4
   19
   20 Fed. R. Evid. 408 ..................................................................................................... 14
   21
   22
   23
   24
   25
   26
   27
   28
                                                                    -iii-
               SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                         SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 5 of 19 Page ID #:1144




    1                 MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.       INTRODUCTION.
    3          New evidence obtained since the last hearing on the parties’ motions further
    4 supports summary judgment for Defendants, and more clearly requires denial of
    5 Plaintiff’s motion for summary judgment as described below.1
    6 II.      RECENT ADMISSIONS ESTABLISH THAT THE THREE
               COPYRIGHT REGISTRATIONS AT ISSUE ARE INVALID AS A
    7
               MATTER OF LAW.
    8
               Neman Brothers’ President2 Yoel Neman, who signed and certified the
    9
        accuracy of the three group copyright registrations at issue (see Dkt. No. 42-1 and
   10
        Exs. 2, 4 and 6) admitted in deposition that those registrations contain significant
   11
        factual inaccuracies that were known to Neman Brothers when it filed them.
   12
               For example, although the registrations claim Neman Brothers is the sole
   13
        author of all the works they identify, Mr. Neman admitted that some of the works
   14
        identified in each registration were authored by third party design studios from
   15
        whom Neman Brothers purchased rights, who are not named as authors or claimants
   16
        in the registrations. (See Lee Decl. Ex.1, Yoel Neman Deposition (“Neman Depo.”).
   17
        26:16-243 and Exs.17, 27, and 33.) Indeed, he admitted that two of the three designs
   18
   19
        1
        This Court continued the previous hearing on the present motions and ordered that
   20 the parties could submit supplemental briefing, on August 23, 2021. (Dkt. No. 58.)
   21 2 Though he admitted he was Neman Brothers’ president in his declaration, Dkt.
   22 No.42-1 ¶ 2, in deposition he first denied that he was ever its president, then claimed
      he had stopped serving as president about 15 years ago. (Concurrently filed
   23 Declaration of Mark S. Lee [“Lee Decl.”] and, Ex 1 thereto, Neman Depo. 11:1-3,
   24 12:9-16, 13:13-16, 15:1-4, 17:12-17, and 18:12-20:11.)
      3
   25 Mr. Neman testified:
        “Q. And so if I understand you correctly, then, Neman Brothers files…what's called
   26
        a group copyright registration about every month? (cont’d next page)
   27       “A Yes.
   28
                                                   1
             SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                       SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 6 of 19 Page ID #:1145




    1 at issue in this case were themselves not authored by Neman Brothers, but instead
    2 by two different European design studios, contrary to the claims made in the
    3 registrations. (Id., Lee Decl. Ex.1, Neman Depo. 66:12-68:1, 70:11-71:5.) He also
    4 admitted that Neman Brothers cannot find a written assignment for one of the fabric
    5 designs at issue. (Lee Decl. Ex. 1, Neman Depo. 68:2-19, 70:11-71:5, 86:22-87:12,
    6 120:15-121:15; 122:15-123:11.)4 And, he admitted he and Neman Brothers knew
    7 those facts when he signed and certified the accuracy of the three registrations. (Cf.
    8 Lee Decl. Ex. 1, Neman Depo. 60:22, 87:21-24,88:1-9, 88:14-19, 89:24-90:9, 97:17-
    9 98:2, 114:12-23, 115:3-14, 116:24-117:4, 117:24-118:5, 118:12-119:4, 129:3-
   10 129:19, 133:22-134:125, and Exs. 10, 17, 18, 27, 28 and 33 thereto.) These factual
   11 inaccuracies alone should invalidate these group registrations, because Copyright
   12 Office regulations have required that group registrations of unpublished works be
   13 limited to works by the same author or authors since 1978, as shown below.
   14         Congress authorized the Copyright Office to dictate the requirements for “a
   15
   16 “Q All right. Does a specific registration typically include both fabric designs that
      Neman Brothers purchased and fabric designs that Neman Brothers created together
   17
      in the group?
   18     A Yes.” (Lee Decl. Ex. 1, Neman Depo. 26:16-24.)
   19   4
        This lack of a written assignment alone is itself fatal to any claim of copyright
   20 ownership of that work. 17 U.S.C. §204 (copyright assignment must be in writing.)
      5
   21 Mr. Neman testified:
      “Q Now, consistent with the earlier registrations we talked about, would some of the
   22
      designs that are described on this registration have been designs that Neman
   23 Brothers purchased from other studios?
   24 “A Yes.
   25 “Q And some of them may have been works that Neman Brothers created?”
   26 “A Yes.
      “Q And Neman Brothers would've known those facts when it registered these works
   27
      for copyright in this registration?
   28 “A Yes.” (Lee Ex. 1, Neman Depo 133:22-134:12.)
                                          -2-
            SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                      SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 7 of 19 Page ID #:1146




    1 single registration for a group of related works” in the Copyright Act of 1976. 17
    2 U.S.C. § 408(c)(1). Congress also required that certain group registrations include
    3 only works by “the same individual author.” 17 U.S.C. §408(c)(2).
    4         Consistent with this Congressional mandate, the Copyright Office since 1978
    5 has required that group registrations of unpublished works be limited to collections
    6 of works by the same author or including the same joint author. Calling its original
    7 regulation for such registrations as applying to “unpublished collections” of works,
    8 it required that “[a]ll of the elements [identified in the unpublished collection
    9 registration] are by the same author [or same joint author]” to qualify for such group
   10 registration. 43 FR 965, 966 (Jan. 5, 1978), https://tile.loc.gov/storage-
   11 services/service/ll/fedreg/fr043/fr043003/fr043003.pdf. That language was included
   12 in every regulation covering group registrations of unpublished works until the most
   13 recent regulatory amendments of 2019. See former 37 CFR 202.3(b)(4)(B)(4)
   14 (2010), https://www.govinfo.gov/content/pkg/CFR-2010-title37-vol1/pdf/CFR-
   15 2010-title37-vol1-sec202-3.pdf; Notice of Proposed Rulemaking for Group
   16 Registration of Unpublished Works, 82 FR No. 196, p. 47415, 47416 (October 12,
   17 2017), https://www.govinfo.gov/content/pkg/FR-2017-10-12/pdf/2017-21722.pdf.).
   18         The 2019 amendments to the relevant regulation even more clearly require
   19 that “[a]ll works [identified in the group registration of unpublished works] must be
   20 created by the same author or joint authors, and the author and claimant information
   21 for each work must be the same.” 37 C.F.R. § 202.4(c)(5),
   22 https://www.law.cornell.edu/cfr/text/37/202.4. (Emphasis added) That same
   23 amended regulation states that “[t]he applicant must identify the authorship that
   24 each author or joint author contributed to the works, and the authorship statement
   25 for each author or joint author must be the same.” 37 C.F.R. § 202.4(c)(7)(2019),
   26 https://www.law.cornell.edu/cfr/text/37/202.4.; see also, Copyright Office Circular
   27 34 p. 5, https://www.copyright.gov/circs/circ34.pdf (to qualify for group
   28 registration of unpublished works, “[a]ll of the authors must be named as copyright
                                                -3-
           SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                     SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 8 of 19 Page ID #:1147




    1 claimants… [and the registration] must identify the authorship that each author or
    2 joint author contributed to the works…”) (Emphasis added.)
    3         Thus, to qualify as a valid group registration of unpublished works, all of the
    4 authors and co-authors of all of the works in the registration must be the same, all of
    5 the authors also must be the copyright claimants identified in the registrations, and
    6 the contribution of each author or joint author be identified for all of the works in
    7 the group registration. (Id.) These group registrations provide significant cost
    8 savings and other advantages to copyright owners but impose additional burdens on
    9 the Copyright Office in evaluating them, so “compliance with the applicable
   10 regulations should be strictly enforced.” Palmer/Kane LLC v. Rosen Book Works
   11 LLC, 204 F. Supp. 3d 565, 571 (S.D.N.Y. 2016); see also, 82 FR No. 196, p. 47415,
   12 47416 (October 12, 2017) (describing the advantages to copyright claimants but the
   13 potentially onerous burdens on the Copyright Office imposed by group registrations
   14 of unpublished works.)
   15         Neman Brothers’ registrations, which nowhere acknowledge they include
   16 many works authored by undisclosed third-parties different from and not including
   17 Neman Brothers, and which nowhere identify those third parties as claimants (Lee
   18 Decl. Ex. 1 and Exs 17, 27 and 33 therein), blatantly violate these requirements.
   19 They constitute a combination of works from different authors, many of whom are
   20 not identified, that is ineligible for group registration of unpublished works under
   21 the Copyright Office regulations by which Neman Brothers purported to file them.
   22         Neman Brother’s registrations also contain numerous other factual errors and
   23 omissions that should invalidate them under the general registration requirements of
   24 17 U.S.C. § 409. The three registrations do not include “the name and nationality or
   25 domicile of the author or authors” for the third-party created works as required by
   26 17 U.S.C. § 409(2). They do not include a statement that the subgroup of included
   27 works its employees created were “works made for hire” in violation of by 17
   28 U.S.C. § 409(4). For the undisclosed third-party works included in each registration,
                                               -4-
           SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                     SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 9 of 19 Page ID #:1148




    1 the registrations do not include “a brief statement of how the claimant obtained
    2 ownership of the copyright” as required by by17 U.S.C. § 409(5). Finally, although
    3 Mr. Neman admitted that many of the works in each registration were later versions
    4 of previously copyrighted works, and were therefore derivative in nature (Lee Decl.
    5 Ex.1, Neman Depo. 89:2-7, 118:12-119:4, and 132:4-133:73), the registrations
    6 include neither “an identification of any preexisting work or works that it is based
    7 on or incorporates” a previous work, nor “a brief, general statement of the additional
    8 material covered by the copyright claim being registered” as mandated by 17 U.S.C.
    9 § 409(9). (Lee Decl. Ex. 1 and Exs. 17, 27 and 33 therein.)
   10         The above errors support invalidation of the three copyright registrations at
   11 issue as a matter of law. Gold Value International Textile, Inc. v. Sanctuary
   12 Clothing, LLC, 925 F. 3d 1140 (9th Cir. 2019) (affirming summary judgment for
   13 defendant on copyright infringement claim because the group registration at issue
   14 knowingly combined published and unpublished fabric designs in violation of
   15 Copyright Office’s regulations for registration of unpublished collections.)
   16         However, this Court should not rule on this issue in the first instance. Instead,
   17 the Ninth Circuit has instructed that “once a defendant alleges that (1) a plaintiff’s
   18 certificate of registration contains inaccurate information; (2) ‘the inaccurate
   19 information was included in the application for copyright registration’; and (3) the
   20 inaccurate information was included on the application ‘with knowledge that it was
   21 inaccurate,’” this Court should instead submit a request to the Register of
   22 Copyrights pursuant to 17 U.S.C. § 411(b) “to advise the court whether the
   23 inaccurate information, if known, would have caused [it] to refuse registration.”
   24 Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir.
   25 2020). The Ninth Circuit has held it is reversible error not to do so. Unicolors, Inc.,
   26 supra (reversing and remanding judgment for plaintiff because the district court did
   27 not refer the copyright registration validity question to the Copyright Office in the
   28 first instance).
                                                 -5-
           SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                     SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 10 of 19 Page ID #:1149




     1            As invalidation of Neman Brothers’ copyright registrations would be fatal to
     2 its copyright infringement claims, this Court should make such a request to the
     3 Copyright Office now, and stay this action until the Copyright Office responds.6 If
     4 the Copyright Office advises that the inaccurate information Neman Brothers
     5 provided would have caused it to refuse the registrations, this Court should
     6 invalidate all three of them and grant summary judgment to InterFocus on Neman
     7 Brothers’ copyright infringement claims herein. Gold Value International Textile,
     8 Inc. v. Sanctuary Clothing, LLC, 925 F. 3d at 1146-47 (granting summary judgment
     9 for defendant based on a Copyright Office determination that it would have denied
   10 the group registration of unpublished fabric designs at issue.)
   11
         III.     THE ACCUSED GARMENTS MAY HAVE COME FROM NEMAN
   12             BROTHERS’ AUTHORIZED CHINESE GARMENT
   13             MANUFACTURER, BARRING PLAINTIFF’S CLAIMS UNDER THE
                  FIRST SALE DOCTRINE.
   14
   15             Yoel Neman also testified that the three fabric designs at issue were and are

   16 manufactured at a factory in Shaoxing, China which, at Neman Brothers’ direction,
   17 delivered fabric bearing the three designs at issue to other businesses located in
   18 GuangZhou and Zhongshan in Guangdong province, China, and nearby ThanhXuan,
   19 Minh Tan and HCM City in Vietnam. (Lee Decl. Ex. 2, Neman Depo.77:10-78:3,
   20 82:19-25, 84:6-11, 84: 24-85:14, 106:8-21, 107:24-108:20, 108:24-109:21, 111:4-
   21 20, 112:24-113:10, 124:9-125:9, 126:14-127:10, and Lee Decl. Ex. 3, Neman Depo
   22 Exs. 13, 16, 22-26, 30 and 32) He also testified that he did not know what happened
   23 to that fabric after it was delivered to those companies. (Lee Decl. Ex.2, Neman
   24 Depo. 77:13-78:22, 79:1-8, 110:3-112:8, 133:22-134:10.)
   25       InterFocus, meanwhile, purchased the garments Neman Brothers alleges

   26
         6
   27  The procedure by which such a request should be made is laid out in Gold Value
      International Textile, Inc. v. Sanctuary Clothing, LLC, supra, 925 F. 3d at 1143,
   28 where the Ninth Circuit describes how the district court did so.
                                                -6-
                SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                          SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 11 of 19 Page ID #:1150




     1 infringed its copyrights from garment manufacturers in the same Guangdong
     2 province of China, who in turn obtained the fabrics from companies who sourced
     3 them from open fabric markets in the same Guangdong province to which Neman
     4 Brothers’ manufacturer delivered fabric bearing two of the designs at issue. Fabrics
     5 bearing the third design was delivered to Vietnam by the same manufacturer.
     6 (Declaration of G. Xiao [“Xiao Decl.”] ¶¶ 2-4; Declaration of Changquan Tao
     7 [“Tao Decl.”] ¶¶ 2-4.) Vietnam is next to Guangdong province in China and the two
     8 areas have significant commerce with each other. (Declaration of Zijia Chen [“Z.
     9 Chen Decl.”] ¶¶ 2- 3.) Such fabric markets, as well as companies accessible on the
   10 internet in China, sell fabrics with designs identical or very similar to those
   11 manufactured by Neman Brothers’ Chinese factory. (Xiao Decl. ¶¶ 2-4; Tao Decl.
   12 ¶¶ 2-4; Z. Chen Decl. ¶ 4.) Neman Brothers’ Chinese manufacturer, or its
   13 customers, may have sold some of the fabric they acquired from Neman Brothers’
   14 suppliers there. Finally, a supplier of Interfocus conducted an experiment and
   15 approached Shaoxing Zhongxing Textile Co. Ltd., a company that has the same
   16 name as Neman’s China manufacturer7, whether it can make fabrics with or similar
   17 to the fabrics Neman accused of Interfocus of infringing. The company said yes,
   18 and did not ask the supplier to show proof of license from Neman. (Z. Chen Decl. ¶¶
   19 5-8.)
   20         Thus, even if the three fabric designs at issue were validly registered with the
   21 Copyright Office (which they were not as described above), the fabric patterns of
   22 the accused garments sold by InterFocus may be similar because they were made
   23 from fabric manufactured by Neman Brothers’ authorized Chinese manufacturer and
   24
   25
   26
        7
   27  While this company bears the same name as Neman’s China manufacturer,
      Interfocus cannot verify whether they are the same company because Interfocus
   28 cannot take this company’s deposition in China.
                                               -7-
            SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                      SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 12 of 19 Page ID #:1151




     1 offered for sale in the Guangdong province’s open fabric market.8 If so, Neman
     2 Brothers’ copyright claims are barred by the “First Sale” doctrine. Kirtsaeng v.
     3 John Wiley & Sons, Inc., 568 U.S. 519 (2013) (purchase of authorized product in
     4 foreign country created first sale defense when the product imported and sold in the
     5 U.S.); Omega S.A. v. Costco Wholesale Corporation, 776 F.3d 692, 695 (9th Cir.
     6 2015) (first sale doctrine precluded copyright infringement claim based on resale of
     7 foreign gray market goods.)
     8
         IV.     DEFENDANTS’ ACCUSED GARMENTS DO NOT INFRINGE
     9           PLAINTIFF’S ALLEGED COPYRIGHTS.
   10
                 Floral pattern fabric designs with flowers as they appear in nature have been
   11
         used for centuries. (Declaration of Deborah Young [“Young Decl.”] ¶ 9.) Further,
   12
         Mr. Neman admitted that Neman Brothers does not claim copyright in the colors
   13
         that appeared on the flowers or in the backgrounds of its designs, and it sells its
   14
         designs in various colors. (Lee Decl. Ex. 1, Neman Depo. 79:9-17, 91:20-93:18)
   15
                 Even if the three fabric designs at issue were validly registered (which they
   16
         were not), all of these unoriginal, common, scènes à faire, elements dictated by the
   17
         flowers’ appearance in nature must be filtered out before evaluating substantial
   18
         similarity of the works at issue under relevant law. Mattel, Inc. v. MGA Entm't, Inc.,
   19
   20    8
           InterFocus could not more specifically tie the source of the accused garments to
   21    Neman Brothers’ Chinese manufacture or Chinese customers because it could not
         depose any of those third-party witnesses in China. Although China is a signatory to
   22    the Hague Evidence Convention, “China does not permit attorneys to take
   23    depositions in China for use in foreign courts. Under its Declaration and
         Reservations to the Hague Evidence Convention and subsequent diplomatic
   24    communications, China has indicated that . . . participation in such activity could
   25    result in the arrest, detention, or deportation of the American attorneys and other
         participants.” See Consular Affairs, U.S. Dept. of State, “Taking Voluntary
   26    Depositions of Willing Witnesses,” 7 Foreign Affair Manual 920 (2013), available
   27    at https://fam.state.gov/fam/07fam/07fam0920.html In addition, strict Covid-related
         travel restriction imposed by the Chinese government made further investigation
   28    impossible.
                                                     -8-
               SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                         SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 13 of 19 Page ID #:1152




     1 616 F.3d 904, 915-916 (9th Cir. 2010) (holding that “[t]he district court [erred] in
     2 failing to filter out all the unprotectable elements” from the work at issue because “a
     3 finding of substantial similarity between two works can't be based on similarities in
     4 unprotectable elements”); Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1082 (9th
     5 Cir. 2000) (requiring that common, unoriginal, scènes à faire elements of a
     6 copyrighted work be filtered out before evaluating substantial similarity with an
     7 allegedly infringing work).
     8         After eliminating such unprotectable elements, the only aspects of the images
     9 that are even arguably protected by copyright are the specific details of the flower
   10 shapes, and specific placement of the flowers, in the designs at issue, as Mr. Neman
   11 acknowledged. (Lee Decl. Ex. 1, Neman Depo. 92:14-23.) While fabric patterns can
   12 qualify for broad protection, see Malibu Textiles, Inc. v. Label Lane Int’l, Inc., 922
   13 F.3d 946 (9th Cir. 2019), they are afforded only “thin” copyright protection when, as
   14 here, most of their content come from unprotectable elements. Star Fabrics, Inc., v.
   15 Zulily, LLC, No. CV178358PSGMRWX, 2018 WL 5264360, at *3 (C.D. Cal. Apr.
   16 17, 2018) (granting partial summary judgment to defendant on copyright
   17 infringement claim involving two fabric designs; court rules plaintiff had “only a
   18 thin copyright, because the zig-zag pattern [in the two fabrics at issue] constitutes a
   19 shared concept that must be subtracted for purposes of the extrinsic test.”)
   20          Here, the differences between the flower designs and placement in Plaintiff’s
   21 allegedly copyrighted works and InterFocus’ accused clothing are significant, and at
   22 least preclude summary judgment for Plaintiff on the substantial similarity issue as
   23 follows:
   24 NB Design 1702689
   25
   26    9
        In its Amended Complaint, Neman Brothers call this “Design 1,” while in his
   27 declaration, Y. Neman called it “Design 2.” (Cf. Dkt. No. 10 ¶ 12-13 and Ex. 1
      thereto with Dkt. No. 42-1, ¶10 and Exs 1 and 2 thereto.) InterFocus refers to it by
   28 Neman Brothers’ own design number NB170268 to avoid confusion.
                                              -9-
             SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                       SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 14 of 19 Page ID #:1153




     1         This design features a striped rather than a solid color background, and it too
     2 should be filtered out as unprotectable because it is not original to Plaintiff, and is
     3 instead a common floral fabric design concept that dates back decades. (Young Dec.
     4 ¶¶ 14-16.)
     5
     6
     7
     8
     9
   10
   11
   12
   13
          Plaintiff’s NB 170268 Design detail           Defendant’s Accused Produce Design
   14
                                                        detail
   15
   16
               The remaining design elements are significantly different, as shown above.
   17
         The centers of the daisies are different. The black in the Defendant’s red flower is
   18
         absent in the Plaintiff’s. The cluster of red flowers to the right of the main clusters
   19
         are in entirely different positions in the two designs. Plaintiff’s red cluster has eight
   20
         flowers, while the Defendant’s has nine, with larger and lighter centers and more
   21
         detailed articulation. Defendant’s design has a cluster of white flowers absent in the
   22
         Plaintiff’s design. The relationship of the surrounding flowers is also different. The
   23
         red flower in the bottom right of the Plaintiff’s design is absent from the
   24
         Defendant’s. The white bud at the bottom of the Plaintiff’s design is missing from
   25
         Defendants’ garment. (Young Decl. ¶¶ 12-13.)
   26
   27
   28
                                                    -10-
             SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                       SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 15 of 19 Page ID #:1154




     1 NB Design 16110610
     2            There also are significant differences in the respective designs here once
     3 unprotectable elements of concept and color are filtered out.
     4
     5
     6
     7
     8
     9
   10
   11
   12
   13
   14
   15
   16         Defendant’s Accused                      Plaintiff’s NB Design
              Product ‐ front                          161106
   17
   18
                  Except for some similarity in one rose cluster highlighted above, there is no
   19
         other point of comparison between the respective flower designs or flower
   20
         placement in the designs (Young Decl. ¶ 17-21) Literally every flower and flower
   21
         placement is different. (Id.)
   22
         NB 180228 11
   23
   24
         10
         In its Amended Complaint, Neman Brothers call this “Design 2,” while in his
   25
      declaration, Neman called it “Design 1.” (Cf. Dkt. No.10 ¶ 14-15 and Ex.3 thereto
   26 with Dkt. No. 42-1 ¶¶ 10, 12 and Exs. 3 and 4 thereto.) InterFocus refers to it by
      Neman Brothers’ own design number NB 161106 to avoid confusion.
   27
      11
         Neman Brothers consistently refers to this as Design 3, but InterFocus also
   28 sometimes refers to it by Neman Brothers’ own design number NB 180228.
                                              -11-
               SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                         SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 16 of 19 Page ID #:1155




     1        The below comparison again reveals common clusters of flowers as they
     2 appear in nature. The flowers in the accused garment are larger, and thus there is
     3 less negative space than Plaintiff’s design due to decreased space between the
     4 flowers. Flower placement and details of the floral expressions also have
     5 differences. Similarities could easily be attributable to the inspiration of the
     6 actual flowers as they appear in nature, from which both copied. (Young Decl. ¶¶
     7 22-26.)
     8
     9
   10
   11
   12
   13
   14
   15
   16
   17
   18                                                    Defendant’s Accused
                                                         Garment
   19       Subject Design 3, NB 180228

   20
   21 V.      PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIMS ARE
   22         CONTRACTUALLY BARRED BY THE PREVIOUS SETTLEMENT
              AGREEMENT.
   23
   24         This Court tentatively denied InterFocus’ motion for summary judgment

   25 based on the “notice and cure” provisions in the Previous Settlement Agreement
   26 (“PSA”) because it tentatively ruled the meaning of “cure” in that agreement “is
   27 reasonably susceptible to two or more interpretations,” and is therefore
   28 “ambiguous.” (Tentative Ruling served August 23, 2021 [“TR”], p. 17.) However,
                                              -12-
            SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                      SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 17 of 19 Page ID #:1156




     1 two paragraphs later, this Court indicated that “the PSA is unambiguous in that it
     2 does not bar Neman Brothers’ copyright claims, even if the alleged infringements
     3 are ‘cured’ within seven days of notice.” (TR 17-18.)
     4          Respectfully, the two statements are irreconcilable. “Cure” as used in the PSA
     5 cannot be both ambiguous and unambiguous. If ambiguous, as the Court first
     6 tentatively ruled, one of its meanings exempts InterFocus from liability based upon
     7 the plain meaning of “cure,” as InterFocus previously argued at length. (See Dkt.
     8 Nos. 35, pp 7-10, 46, pp. 7-17, and 50 pp. 1-10.) 12 “Cure” would “bar Neman
     9 Brothers’ copyright claims” under that meaning, as described in that briefing.
   10 InterFocus respectfully invites the Court to reconsider this aspect of its tentative
   11 ruling.
   12           Further, although InterFocus believes that the meaning of the notice and cure
   13 provision of the PSA actually is “unambiguous” because the plain meaning of
   14 “cure” should contractually exempt InterFocus from liability without consideration
   15 of extrinsic evidence as a matter of law as described in previous briefing,
   16 concurrently submitted extrinsic evidence further supports InterFocus’
   17 interpretation. As the InterFocus attorney who negotiated the PSA explains,
   18 InterFocus always intended the “notice and cure” provision to have exactly that
   19 meaning, as the facts surrounding execution of the PSA demonstrate. (Declaration
   20 of Linna Chen [“L. Chen Decl.”] ¶¶ 1, 5.)
   21           InterFocus did not believe the claims had merit, but elected to settle this
   22 dispute on the terms stated in the PSA because the few sales of allegedly infringing
   23 garments meant that, from a business perspective, it was not worth the legal expense
   24 to litigate. It. (L. Chen Decl. Decl. ¶ 2.)
   25         However, while it was willing to pay a nuisance value settlement once,
   26
         12
   27   As also argued at length in prior briefing, the PSA also bars all alleged
      infringements that occur before its execution pursuant to its release provisions, and
   28 thus bars all alleged infringements before March 2020. Dkt. No 35, pp 8-9.
                                                -13-
              SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                        SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 18 of 19 Page ID #:1157




     1 InterFocus did not want to face subsequent nuisance suits from Neman Brothers in
     2 the future. (L Chen Decl. Decl. ¶ 5.) InterFocus sold large numbers of garments it
     3 purchased from third parties, and realistically could not independently police each
     4 one’s copyright status in real time. (Id.) Further, Neman Brothers was litigious,
     5 with between 90 and 100 copyright infringement suits filed in the Central District of
     6 California alone when InterFocus negotiated the PSA. (Lee Decl. ¶ 2 and Ex. 1 filed
     7 July 13, 2021, Dkt.. Nos. 35-1 and 35-2.) Neman Brothers also previously sued the
     8 same defendant twice for the same alleged copyright infringement, requiring that
     9 defendant to go through extensive law and motion work to get the case dismissed.
   10 See Neman Brothers & Assoc., Inc. v. One Step up Ltd., 764 Fed. Appx 625 (9th Cir.
   11 2019). InterFocus believed it was important to include a “notice and cure” provision
   12 in the PSA specifically to make sure it wouldn’t also be sued for such minor alleged
   13 infringements in the future, by providing that it could “cure” any alleged
   14 infringement by complying with the PSA’s provisions. (L. Chen Decl. ¶ 5.)
   15          The fact that opposing counsel stated in an email during settlement
   16 negotiations that Neman Brothers objected to earlier language in the PSA
   17 concerning that provision is unimportant and should be inadmissible.13 Parties in
   18 settlement negotiations often say they won’t agree to something before they
   19 ultimately do agree to it in an agreement. InterFocus’ counsel emphasized to Neman
   20 Brothers’ counsel that InterFocus would not agree to a settlement agreement that
   21 would allow InterFocus to be sued by Neman Brothers in the future (L. Chen Decl.
   22 ¶6.) Those negotiations resulted in the “notice and cure” provision, and its plain
   23 language is the best evidence of the parties’ intent. Pension Trust Fund for
   24 Operating Engineers v. Federal Insurance Co., 307 F.3d 944, 949 (9th Cir. 2002).
   25
   26   13
        The statement was made in the course of settlement negotiations (L. Chen Decl.
   27 ¶¶ 3-4), which this Court indicated it was going to exclude pursuant to Fed. R. Evid.
      408 (TR 3, fn 2.) Respectfully, the Court’s subsequent consideration of the parties’
   28 settlement discussions is inconsistent with its ruling in that footnote 2.
                                               -14-
             SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                       SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 66 Filed 11/01/21 Page 19 of 19 Page ID #:1158




     1        Neman Brothers’ attempt to avoid the PSA’s plain terms by retroactively
     2 mischaracterizing what the parties intended based on settlement negotiations is
     3 obviously self-serving, especially when Neman Brothers” proposed “alternative”
     4 meaning for “cure” is meaningless and effectively renders “cure” a nullity, as
     5 described in previous briefing. Neman Brothers cannot meritoriously rewrite the
     6 plain language of the PSA through such extrinsic evidence. (See Dkt. No. 50.) This
     7 is especially true here, where Neman Brothers was an experienced litigant
     8 represented by experienced counsel who had been involved in more than 90
     9 copyright infringement settlements previously.
   10         At a minimum, this evidence of intent makes even clearer that the PSA cannot
   11 “unambiguously” allow Neman Brothers’ copyright infringement claims if
   12 InterFocus complies with its conditions, as it did. To the contrary, it unambiguously
   13 supports just the opposite.
   14 VI.     CONCLUSION.
   15         InterFocus’ motion for summary judgment should be granted, and Neman
   16 Brothers’ motion should be denied, for the reasons described above.
   17                                           RIMON, P.C.
   18 Dated: November 1, 2021
   19                                       By: /s/ Mark S. Lee
   20                                           Mark S. Lee
                                                Zheng Liu
   21
                                                Attorneys for Defendants and
   22                                           Counterclaim Plaintiffs
   23                                           INTERFOCUS, INC. d.b.a.
                                                www.patpat.com
   24
   25
   26
   27
   28
                                                -15-
            SUPPLEMENTAL BRIEF OF INTERFOCUS INC. OPPOSING PLAINTIFF’S MOTION AND
                      SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT
